Case 2:04-cr-20366-.]P|\/| Document 49 Filed 08/24/05 Page 1 of 7 PagelD 62

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UN|TED STATES OF AMER|CA

  
  

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lieu i. .i .-.l_i.\. hid
ALAN STEVEN BRAVERMAN
L. Danie| Johnson CJA
Defense Attorney
254 Court Street, #300
Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 'l of the indictment on lV|arch 15, 2005. Accordinglyl
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section MM Offense Number{s)
QOr\_clu_de_d
18 u.s.c. § 1344 sank Fraud 01/06/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 through 23 dismissed on the motion of the United States.

lT |S FU RTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 05/20/1944 July 8, 2005
Deft’s U.S. Marshal No.: 19858-076

Defendant’s Mai|ing Address:
5694 Ashley Square South
|Vlemphis, TN 38120

,Q~Q (/W fm
JON PH|PPS MCCALLA
UN|T STATES DISTRICT JUDGE

August _éf'l_ 2005

 

This document entered on the docket sheet ln compliance
with Rule 55 and/or 32(b) FFlCrP on g ’Z Z’{Z‘§ W

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Case No: 2:04CR20366-01-M| Defendant Name: A|an Steven BRAVERMAN Page 2 of 6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 18 Months (or 1 Year and 6 Months).

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at a facility that can provide Kosher food.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20366-01-|V|| Defendant Name: A|an Steven BRAVERMAN Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a tirearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation ofncer;

2. The defendant shall report to the probation officer as directed by the court or probation ofhcer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation omcer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and sha|i not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit coancation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20366-01-N|i Defendant Name: Alan Steven BRAVERMAN Page 4 of 6
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofhcerl the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a ina or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate with DNA collection as directed by the Probation Ocher.
2. The defendant shall make full financial disclosure
3. The defendant shall be prohibited from incurring new credit charges, opening additional lines

of credit or making any major purchases without the prior approval of the Probation Oflicer.

4. The defendant shall submit to mental health testing and mental health treatment programs
as directed by the l-"robation Ocher.

CR|M|NAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment. pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$1 00.00 $167,617.65

The Specia| Assessment shall be due immediately

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FiNE
No fine imposed
REST|TUT|ON

Restitution in the amount of $167,617.65 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment
NAT|ONAL BANK OF $167,617.65 $167,617.65
COM|V|ERCE

c/o Jeremy G. Aipert, Esq.
Glank|er, Brown, PLLC
One Commerce Square
Suite 1700

l\ilemphis, TN 38103

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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Case No: 2:04CR20366-01-M| Defendant Name: Aian Steven BRAVERMAN Page 6 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Un|ess the court has expressly ordered othenivise in the special instructions above, if thisjudgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment A|l criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financia| Responsibility Program, are made to the clerk of the
court. unless otherwise directed by the court. the probation oflicerl or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20366 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

Memphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

